Exhibit B



                             IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                       WESTERN DIVISION
                                      Consolidated Civil Action


            RALEIGH WAKE CITIZENS
            ASSOCIATION, et al.

                                     Plaintiffs,

            v.                                                     No. 5:15-cv-156

            WAKE COUNTY BOARD
            OF ELECTIONS,

                                     Defendant.




            CALLA WRIGHT, et al.,

                                     Plaintiffs,

            v.                                                     No. 5:13-cv-607

            THE STATE OF NORTH CAROLINA,
            et al.,

                                     Defendants.




                       PLAINTIFFS’ SUBMISSION ON APPROPRIATE REMEDIES




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         Pursuant to this Court’s Order issued July 8, 2016, ECF No. 78,1 Plaintiffs in these

consolidated cases, by and through their undersigned counsel, respectfully submit the following

points and authorities.

                                            I.      INTRODUCTION

         Contrary to the assertion in the Court’s Order of July 8, 2016, ECF No. 78 at 3, Plaintiffs

have never asked this Court to devise and order the use of a remedial redistricting plan for use by

the Wake County Board of County Commissioners or the Wake County Board of Education, and

are not now asking the Court to do so. Instead, Plaintiffs contend that in the circumstances of

this case, where fully constitutional and legally enforceable districting plans exist already for

both bodies based on 2010 Census Data, this Court does not have the legal authority to impose

its own plans. The redistricting plans that were duly enacted and in effect in 2011, and that were

used until the 2013 and 2015 legislation was passed changing the method of election, are the last

legally enforceable election systems and now are the appropriate districts to be used for the

upcoming elections. Once the mandate of the Fourth Circuit Court of Appeals issues in this case,

unless and until the North Carolina General Assembly enacts other redistricting plans or methods

of election, the State Board of Elections and the Defendant here, the Wake County Board of

Elections, are legally obligated to enforce the election system previously in place. There is no

need, and no legal justification, for this Court to do anything beyond implementing the mandate

by issuing a permanent injunction enjoining the Defendant Wake County Board of Elections

from holding elections under the statutes ruled unconstitutional in this case.

                                      II.        STATEMENT OF CASE




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 Unless otherwise noted, all citations to documents filed in this consolidated action are to the lead case, Raleigh
Wake Citizens Assoc. et al., v. Wake Cty. Bd. of Elections, et al., No. 5:15-cv-156.

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       On August 22, 2013 Plaintiffs in Wright v. North Carolina, No. 13-cv-607, filed suit

seeking to enjoin the use of a new election system for the Wake County Board of Education

enacted by the North Carolina General Assembly over the objection of a majority of the Board

on the grounds that the districts violated the one-person, one-vote requirement of the equal

protection clauses of the Fourteenth Amendment to the U.S. Constitution and Article 1, § 19 of

the North Carolina Constitution. Following dismissal of the action on March 14, 2014, Plaintiffs

appealed.   While that appeal was pending, the North Carolina General Assembly enacted

legislation requiring the use of the same system for the Wake County Board of County

Commissioners on April 2, 2015. On April 19, 2015 the Raleigh Wake Citizens Association and

another set of individual voters filed suit challenging that legislation on similar one-person, one-

vote grounds and raised an additional claim that racial considerations predominated in the

drawing of one of the districts. Raleigh Wake Citizens Ass’n. v. Wake Cnty. Bd. of Elections, No.

15-156 (E.D.N.C.) (“RWCA”).

       On May 27, 2015 the Fourth Circuit issued its ruling reversing the lower court’s

dismissal of Plaintiffs’ claims in the first case. Wright v. North Carolina, 787 F.3d 256 (4th Cir.

2015). The two cases were consolidated and a bench trial was held on December 16-18, 2015.

On February 26, 2016, the trial court ruled for Defendant on all claims and Plaintiffs appealed.

On expedited review, the Fourth Circuit reversed in part and affirmed in part with an opinion

issued July 1, 2016. On July 14, 2016 the Defendant petitioned the Fourth Circuit for rehearing

en banc, Plaintiffs filed a motion asking the court to issue the mandate forthwith, and the

Speaker of the House and the President Pro Tempore of the Senate of the North Carolina General

Assembly filed a motion to intervene. The motions and the petition are pending with the Fourth

Circuit Court of Appeals as of the date of this pleading.



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                                   III.   STATEMENT OF FACTS

        In 2011 both the Wake County School Board and the Wake County Board of County

Commissioners, pursuant to authorities granted to them under N. C. Gen. Stat. §§ 115C-37 and

153A-22, redrew their election districts and residency districts respectively, to account for

population imbalances as indicated by the 2010 census data. RWCA v. Wake County Bd. of

Elections, Nos. 16-1270 and 16-1271, 2016 U.S. App. LEXIS 12136 *3 (July 1, 2016). The

Wake County School Board was a nine-member board elected in non-partisan elections in odd-

numbered years with staggered terms. Id. The Board of County Commissioners was a seven-

member board elected at-large with partisan elections in even-numbered years from residency

districts and with staggered terms. See 1981 N. C. Sess. Laws 983.

        In 2011 elections were held in five of the nine single-member school board districts using

the new districts adopted by that board. See Pls.’ Trial Exs. 58, 59. In 2013, elections were held

in the other four districts. See Pls.’ Trial Ex. 56. No school board district elections were held in

2015. See 2013 N.C. Sess. Laws 110 § 1 (“No election for members of the Wake County Board

of Education shall take place in 2015.”) While a filing period was conducted for elections in all

nine districts for the school board in 2016 using the newly enacted seven-two district system that

has now been declared unconstitutional, no school board primaries or elections have been held to

date.    See Candidate List Grouped by Contest, Wake County Board of Elections,

http://msweb03.co.wake.ne.us/bordelec/downloads/6candidate/6candidatelist/2016EDUandSW.p

df (last visited July 18, 2016).

        In 2012, at-large elections were held in three county commission residency districts using

the 2011 districts and in 2014, at-large elections were held in the other four county commission

2011 districts. See Pls.’ Trial Exs. 55, 57. In March 2016 a contested primary was held in super-



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district B established by the unconstitutional law. See March 15, 2016 Election Results, Wake

County                           Board                           of                          Elections,

http://wakegov.com/elections/data/Past%20Election%20Results/2016-03-15%20-

%20Primary%20Election/20160315Summary.htm (last visited July 18, 2016).                    No at-large

primary elections were held in March 2016 for residency districts 4, 5, and 6 under the prior

district system because those primary races were uncontested. See id. The district 5 seat is also

uncontested in the general election. See 2016 Candidate Detail List, Wake County Board of

Elections,

http://msweb03.co.wake.nc.us/bordelec/downloads/6candidate/6candidatelist/2016General.pdf

(last visited July 18, 2016. There have been no final elections under the new system for county

commission.

         The statutes that the Court of Appeals has found violate the one person, one vote

requirement do not contain severability clauses. See 2013 N.C. Sess. Laws 110 and 2015 Sess.

Laws 4. The statutes and the systems of election they create cannot be implemented without

defined district boundaries, the very element that has been ruled unconstitutional.

                                         IV.    ARGUMENT

         Once the mandate of the Fourth Circuit Court of Appeals is issued in this case, this Court

is obligated to implement the Fourth Circuit’s judgment and enjoin the use of the

unconstitutional election systems established by Session Law 2013-110 and Session Law 2015-4.

In each case, because the remainder of the statute cannot be implemented without the districts at

issue, the entire statute is unconstitutional. Typically in redistricting cases, the prior redistricting

plan that was in effect is also unconstitutional because it no longer complies with one-person,

one-vote using the most current census data. However, in this unusual case where a mid-decade



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re-redistricting has occurred, the prior plan is a constitutional plan and can be used. The prior

districts represent the judgment of the bodies involved regarding how their districts should be

drawn. They are known to the voters and have previously been implemented by the Defendant

Board of Elections. In these circumstances, the Court is obligated to allow the State Board of

Elections to administratively return to the prior system of election and newly drawn districts for

the school board and county commission are not required. The only remedy this Court has the

authority to implement is a permanent injunction prohibiting the use of the unconstitutional

election systems.

    A. PLAINTIFFS ARE NOT ASKING THIS COURT TO ORDER INTERIM REMEDIAL
       DISTRICTS

         In Plaintiffs’ original complaint in Wright, the specific relief Plaintiffs sought was “a

permanent injunction enjoining Defendant, its agents, officers and employees, from enforcing or

giving any effect to the provisions of Session Law 2013-110 that relate to the method of election

of members of the Wake County Board of Education.” Complaint, ECF No. 1, at 22 ¶3 (Aug.

22, 2013). In addition, Plaintiffs asked the Court to declare that unless the North Carolina

General Assembly acts, the Board of Education itself has the authority under state law to adopt

districts that comply with the one-person, one-vote requirement. Id., ¶4. The identical relief was

sought with regard to the county commission in RWCA. See Amended Complaint, ECF No. 22,

at 17 ¶¶4, 6, (June 5, 2014).2

         More importantly and binding on this Court, is the direction from the Fourth Circuit

when this issue arose in the context of whether the Wake County Board of Elections was a


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  Indeed, Plaintiffs still contend that if new districts did need to be drawn for the county commission and school
board, and the General Assembly did not act to do so, the proper entity under state law to draw such districts are the
local governments themselves, see N.C. Gen. Stat. §§ 115C-37 and 153A-22, and they are the parties that should be
given the initial opportunity to fashion an appropriate remedy. See, e.g., McGee v. Granville Cty., 860 F.2d 110,
121 (4th Cir. 1988) (court erred in not deferring to the County’s proposed remedial plan).

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sufficient defendant to allow Plaintiffs full relief should they prevail on any of their claims. See

Wright, 787 F. 3d at 262-63. The Fourth Circuit ruled that the Board of Elections is a sufficient

party for a remedy and that no new districts need to be drawn in order for a valid election to

occur if Plaintiffs succeed. Id. Specifically, the Court held:

         Plaintiffs counter that if the Proposed Defendants are not party to their suit, there
         will be no mechanism for forcing a constitutionally valid election, should they
         succeed in enjoining the Session Law. This assertion is, however, incorrect. The
         district court could, for example, mandate that the Board of Elections
         conduct the next election according to the scheme in place prior to the
         Session Law's enactment until a new and valid redistricting plan is
         implemented. State law also provides, for example, that the State Board of
         Elections can make reasonable interim rules with respect to pending elections.
         N.C. Gen. Stat. § 163-22.2 (“In the event . . . any State election law . . . is held
         unconstitutional or invalid by a State or federal court or is unenforceable . . ., the
         State Board of Elections shall have authority to make reasonable interim rules and
         regulations with respect to the pending primary or election.”). Without question,
         then, a valid election could take place if Plaintiffs succeed on the merits and
         successfully enjoin the Session Law.

Id. (footnote omitted) (emphasis added). As the State Board of Elections made clear in its letter

to this Court dated July 16, 2016, that Board has exercised its authority under N.C. Gen. Stat. §

163-22.2 in the past to implement procedural rule changes necessary to conduct elections and is

not equipped to itself draw new districts.3 State Board of Elections Letter, ECF No. 81 (July 16,

2016).

         In light of the directions in Wright on this question, and the role of the State Board of

Elections as exercised in the past, it is clear that once the mandate in this case issues, so long as

the General Assembly does not act, the prior constitutional and legally enforceable election

systems should be implemented for the school board and county commission. Plaintiffs are not

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  In Newsome v. N.C. State Bd. of Elections, 105 N.C. App. 499, 506-08, 415 S.E.2d 201, 204-06 (1992), the North
Carolina Court of Appeals upheld the actions of the State Board of Elections exercised under the authority of N.C.
Gen. Stat. § 163-22.2. In that instance, the State Board did not draw districts, but rather instructed the local board to
reschedule an election that had been delayed because of the Section 5 preclearance process. See Newsome, 105 N.C.
App. at 503, 415 S.E.2d at 203. That same administrative authority is all that is needed in this case to schedule
elections in the prior, constitutionally-drawn districts.

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asking this court “to hold elections under a court-ordered remedial plan.” Order, ECF No. 78 at

3 (July 8, 2016). Instead, Plaintiffs seek an order enjoining the use of the method of election

established by the unconstitutional statutes and to clarify for the Defendant Wake County Board

of Elections that they should conduct the next elections in 2016 “according to the scheme in

place prior to the Session Law’s enactment.” Wright, 787 F.3d at 262.

   B. RETURING TO THE PRIOR METHOD OF ELECTION IS STRAIGHTFORWARD
      AND SIMPLE TO IMPLEMENT

       For the Board of County Commissioners, the changes required at this point to return to

the prior constitutional method of election are minimal. In order to return that Board to the

structure and system in place before Session Law 2015-4 was enacted, this year’s at-large

elections for the three commission seats from residency districts should proceed, electing those

members to four-year terms. The 2016 filing period has already closed for candidates for the at-

large seats from existing residency districts for the Board of Commissioners. Those seats are

using the prior, constitutional districts, see 2015 N.C. Sess. Laws 4 § 1.(b), and there is no need

to reopen filing or do anything different to change that election process already underway.     By

virtue of the mandate issuing in this case, the primary that occurred in super-districts A and B in

March 2015 is void because those are unconstitutional districts.

       With regard to 2016 elections for the Wake County School Board, the State Board of

Elections should direct the local board to take steps to return to the prior constitutionally

permissible system, which included odd-year elections with staggered terms, using the single-

member districts enacted in 2011. To accomplish this, the five school board seats elected in

2011 should be open for election in November 2016 for three-year terms to prevent those

members from holding over any longer and to prevent the entire board from being up for election

at the same time. Cf. N.C. Gen. Stat. § 115C-37(a) (“The terms of office of the members [of

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county boards of education] shall be staggered so as nearly equal to one half as possible shall

expire every two years.”) The four seats elected in 2013 can be open for election in the fall of

2017 according to the normal schedule that they would have had before Session Law 2013-110.

This would return the Board to a 5-4 stagger of four-year terms each. The November 2016

election would allow for an August filing period, and would require non-partisan election by

plurality rather than a run-off. This procedure provides the most efficient return to the prior

systems with the least disruption possible for voters. Cf., Dillard v. Baldwin Cnty. Comm’n, 222

F. Supp. 2d 1283, 1287 (M.D. Ala. 2002) (having ruled that a change in the method of election

was not required by federal law, ordering that “the Baldwin County Commission shall return to

the system of four members elected at-large used before the court’s 1988 injunction”).

   C. THIS COURT IS BOUND BY THE RULING OF THE FOURTH CIRCUIT COURT
      OF APPEALS

       Once the mandate issues, this Court must comply with the Fourth Circuit’s ruling. “Once

a case has been decided on appeal and a mandate issued, the lower court may not ‘vary it [the

mandate] or examine it for any other purpose than execution; or give any other or further relief;

or review it, even for apparent error, upon any matter decided on appeal; or intermeddle with it,

further than to settle so much as has been remanded.’” Stamper v. Baskerville, 724 F.2d 1106,

1107 (4th Cir. 1984) (quoting In re Sanford Fork & Tool Co., 160 U.S. 247, 255–56 (1895)); see

also Doe v. Chao, 511 F.3d 461 (4th Cir. 2007); Redic v. Gary H. Watts Realty Co., 862 F.2d

314 (4th Cir. 1988). As noted in the July 8, 2016 Order, the Fourth Circuit remanded “with

instruction to enter immediately judgment for Plaintiffs, granting both declaratory relief and a

permanent injunction, as to the one person, one vote claims.” RWCA, 2016 U.S. App. LEXIS

12136, at *45 (footnote omitted). This statement is further reinforced by the footnote to this




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direction which states “[w]e see no reason why the November 2016 elections should proceed

under the unconstitutional plans we strike down today.” Id., at *45 n.13.

       Not only must the district court follow the express terms of the mandate, the court must

also implement the spirit of the mandate. “When this court remands for further proceedings, a

district court must, except in rare circumstances, implement both the letter and spirit of the

mandate, taking into account our opinion and the circumstances it embraces.” United States v.

Pileggi, 703 F.3d 675, 679 (4th Cir. 2013) (internal alteration, quotation marks, and citation

omitted). Thus, it is Plaintiffs view that this Court does not have the authority to “address the

propriety of such a remedy and address whether footnote 13 in the Fourth Circuit’s opinion

mandates such a remedy.” Order, ECF No. 78 at 7 (citations omitted). The Fourth Circuit has

spoken in clear terms that the initial stages of the 2016 elections under unconstitutional plans are

void, and elections in 2016 should not proceed under the plans struck down by the Fourth

Circuit.

       Such a result is only fair to the Plaintiffs who have sought to expedite the final resolution

of this case on the merits and the intent of the Fourth Circuit to make a remedy possible in the

2016 election cycle is further reinforced by the fact that the court granted Plaintiffs-Appellants’

motion for expedited review of the trial court’s opinion. See RWCA, No. 16-1270, ECF No. 35

(4th Cir. Apr. 5, 2016) (granting motion to expedite).

       Furthermore, even if Defendant files a petition for certiorari with the United States

Supreme Court, that fact also does not justify any action by this Court to avoid the

implementation of the mandate, and the use of the prior method of election, for the November

2016 elections. It is clear that a district court in the Fourth Circuit does not have the authority to,

in effect, stay the Fourth Circuit’s ruling pending Supreme Court review. In United States v.



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Lentz, 352 F. Supp. 2d 718, 726-27 (E.D. Va. 2005), it was noted that, “a stay of this case

pending filing of Lentz's certiorari petition would violate the ‘mandate rule,’ as it would

contravene the spirit of the Fourth Circuit's mandate in this case.” Id. at 727. The court in Lentz

held that it had no jurisdiction to stay the Fourth Circuit’s mandate to enable the defendant to file

a petition for certiorari, reasoning that, because 28 U.S.C. § 2101(f) grants that authority to “a

judge of the court rendering the judgment or decree or . . . a justice of the Supreme Court,” that

authority clearly doesn’t belong to the district courts. Id. at 725. Here, to allow the 2016

elections to proceed using the unconstitutional system that violates Plaintiffs’ right to an equal

vote would effectively be a stay of the Fourth Circuit’s ruling, which is beyond this Court’s

power to grant.

   D. IN EACH CASE, THE ENTIRE STATUTE AND METHOD OF ELECTION IS
      UNCONSTITUTIONAL

       State law determines the severability of unconstitutional portions of a state law in federal

court. Sons of Confederate Veterans v. Vehicles, 288 F.3d 610, 627 (4th Cir. 2002);

Environmental Tech. Council v. Sierra Club, 98 F.3d 774, 788 (4th Cir. 1996); see also

Department of Treasury v. Fabe, 508 U.S. 491, 509-10 (1993) (state law governs severability of

a state statute).   Under North Carolina law, when one portion of a statute is declared

unconstitutional or is otherwise stricken, the surviving portion will be given effect only if it is

severable. See Flippin v. Jarrell, 301 N.C. 108, 117-18, 270 S.E.2d 482, 488-89 (1980);

Constantian v. Anson County, 244 N.C. 221, 227-28, 93 S.E.2d 163, 168 (1956).

       In State ex rel. Andrews v. Chateau X, Inc., 296 N.C. 251, 259-60, 250 S.E.2d 603, 608

(1979), the North Carolina Supreme Court identified two factors to be considered in assessing

severability: (1) whether the remaining portions of the statute are capable of being enforced on

their own; and (2) whether there is legislative intent to enforce the remainder, “particularly . . .

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whether that body would have enacted the valid provisions if the invalid ones were omitted.”

Moreover, the North Carolina Supreme Court has emphasized the second factor, holding that

when a portion of a statute is stricken, the whole must fall absent a clear legislative intent to the

contrary: “when the statute, or ordinance, could be given effect had the invalid portion never

been included, it will be given such effect if it is apparent that the legislative body, had it known

of the invalidity of the one portion, would have enacted the remainder alone.” Jackson v.

Guilford Cnty. Bd. of Adjustment, 275 N.C. 155, 168-69, 166 S.E.2d 78, 87 (1969); see also

Pope v. Easley, 354 N.C. 544, 556 S.E.2d 265 (2001) (applying Jackson to a state statute that

had a severability clause).

       In determining severability, the intent of General Assembly may be indicated by the

inclusion of a severability clause. Fulton Corp. v. Faulkner, 345 N.C. 419, 421, 481 S.E.2d 8, 9

(1997). However, even where there is a severability clause, the court looks to the act as a whole

and will not use a severability clause to “vary and contradict” the express terms of a statute.

Sheffield v. Consolidated Foods Corp., 302 N.C. 403, 421-22, 276 S.E.2d 422, 434-35 (1981).

       Here, neither of the statutes at issue contains a severability clause. See 2013 N.C. Sess.

Laws 110, 2015 N.C. Sess. Laws. The districts that were declared unconstitutional are an

integral part of the election systems established by the statutes. It is not possible to implement

the new system without district boundaries. In these circumstances, there is no part of the statute

that is severable, and there is no indication whatsoever that the North Carolina General

Assembly intended that any portion of either statute be implemented without the districts they

drew. Thus, neither statute meets the Jackson test for severability under North Carolina law.

   E. THIS COURT SHOULD NOT DRAW AND THEN ORDER THE USE OF ENTIRELY
      NEW DISTRICTS WHERE IT IS NOT NECESSARY TO DO SO




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       Where there exists a constitutional redistricting plan for the election of members of the

Wake County Board of Education and Board of County Commissioners, this court should recall

the frequent exhortations of the United States Supreme Court that redistricting “be undertaken by

a district court only as a last resort.” Lawyer v. Dep’t. of Justice, 521 U.S. 567, 586 (1997)

(citing White v. Weiser, 412 U.S. 783 (1973)).” Because constitutional districts already exist, the

Court need not take that last resort of drawing its own plan.

       The judiciary’s reasons for assiduously avoiding unnecessary engagement in redistricting

are multiple. Federal court redistricting represents “a serious intrusion on the most vital of local

functions.” Miller v. Johnson, 515 U.S. 900, 915 (1995). It is well settled that ‘reapportionment

is primarily the duty of and responsibility of” the legislature or legislative body that traditionally

conducts redistricting. Chapman v. Meier 420 US 1, 27 (1975). Thus, judicial redistricting by

federal courts is an “unwelcome obligation,” Connor v. Finch, 431 U.S. 407, 415 (1977), and

should be avoided if not absolutely necessary.

   F. IF THE COURT NEVERTHELESS DOES DRAW REMEDIAL DISTRICTS, THE
      COURT’S DISCRETION IS LIMITED

       If, contrary to the mandate in this case and the clear instructions of the Fourth Circuit, the

court does move forward to develop a new redistricting plan, this court operates under more

stringent restrictions than would the General Assembly, the State Board of Elections or the

county boards themselves.      Most significantly, court-drawn plans must abide by a stricter

standard of population equality than plans drawn by a legislative body. As the Court has

explained on several occasions, “unless there are persuasive justifications, a court ordered

reapportionment plan of a state legislature . . . must ordinarily achieve the goal of population

equality with little more than de minimis variation.” Chapman, 420 U.S. at 26-27; see also

Connor, 431 U.S. at 414-15 (“[A] state legislature is the institution that is by far the best situated

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to identify and then reconcile traditional state policies within the constitutionally mandated

framework of substantial population equality. The federal courts by contrast possess no

distinctive mandate to compromise sometimes conflicting state apportionment policies in the

people’s name.”).

       Thus, a court-ordered plan “must be held to higher standards than a State’s own plan.

With a court plan, any deviation from approximate population equality must be supported by

enunciation of historically significant state policy or unique features.”). Chapman, 420 U.S. at

27; see also Johnson v. Miller, 922 F. Supp. 1556, 1561 (S.D. Ga. 1995) (“Since federal courts

are held to stricter standards than legislatures in redistricting, we were particularly constrained to

create a remedy with the lowest population deviation practicable.”) (citation omitted); Burton v.

Sheheen, 793 F. Supp. 1329, 1343 (D.S.C. 1992), judgment vacated on other grounds by

Statewide Reapportionment Advisory Comm. v. Theodore, 508 U.S. 968 (1993) (“Given that

compliance with the principles of one man, one vote is the preeminent concern of court-ordered

plans, the very real possibility exists that certain state policies will be compromised in a court-

ordered plan which could have been better served had judicial intervention not been necessary.”).

       Additionally, a court ordering a redistricting plan should not factor in political

considerations at all, as opposed to the latitude afforded to legislative bodies to do so. “[T]he

judicial remedial process in the reapportionment area -- as in any area ‐‐ should be a fastidiously

neutral and objective one, free of all political considerations and guided only by the controlling

constitutional principle of strict accuracy in representative apportionment.” White, 412 U.S. at

799 (Marshall, J., concurring in part). Moreover, a court constructing its own plan should take

care not to double-bunk or draw incumbents out of their districts. See, e.g., Arizonans for Fair

Representation v. Symington, 828 F.Supp. 684, 688-89 (D. Ariz. 1992) (three-judge court) (“The



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court [plan] also should avoid unnecessary or invidious outdistricting of incumbents. Unless

outdistricting is required by the Constitution or the Voting Rights Act, the maintenance of

incumbents provides the electorate with some continuity. The voting population within a

particular district is able to maintain its relationship with its particular representative and avoids

accusations of political gerrymandering.”).

   G. PLAINTIFFS’ PROPOSED SCHEDULE FOR IMPLEMENTATION OF A REMEDY

       In response to the Court’s invitation to address timing issues, the Plaintiffs’ position is

that the transition back to the election systems in place for both the school board and county

commission should be implemented immediately upon the issuance of the Fourth Circuit’s

mandate in this case. Indeed,

               [O]nce a State’s…apportionment scheme has been found to be
               unconstitutional, it would be the unusual case in which a court
               would be justified in not taking appropriate action to insure that no
               further elections are conducted under the invalid plan.

Reynolds v. Sims, 377 U.S. 533, 585 (1964). As explained above, the steps needed to return to

the prior constitutional system are minimal and should be taken immediately. There is no need

to have a primary for the county commission or school board seats that should be elected this

year. A filing period should be set for the five school board seats that should be elected in

November 2016.

       There is no justification for delay in implementing this return to the prior election system.

Such a delay would be equivalent to granting a stay of the judgment. The right to vote is one of

the most fundamental rights in our democracy and is thus afforded special protections. See

Reynolds, 377 U.S. at 554-55, 563; Wesberry v. Sanders, 376 U.S. 1, 17 (1964) (“Other rights,

even the most basic, are illusory if the right to vote is undermined.”). As such, any impediment

or abridgment of the right to vote is an irreparable injury. Elrod v. Burns, 427 U.S. 347, 373

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(1976). Plaintiffs and other Wake County voters will suffer irreparable injury if they are forced

to participate in elections using unconstitutional districts. See Larios v. Cox, 305 F. Supp. 2d

1335, 1344 (N.D. Ga. 2004) (“If the court permits a stay, thereby allowing the 2004 elections

also to proceed pursuant to unconstitutional plans, the plaintiffs and many other citizens in

Georgia will have been denied their constitutional rights in two of the five elections to be

conducted under the 2000 census figures. … Accordingly, we find that the plaintiffs will be

injured if a stay is granted because they will be subject to one more election cycle under

unconstitutional plans.”).

       Recently a three-judge panel in the Middle District of North Carolina denied a stay of a

remedy for the General Assembly’s unconstitutional racial gerrymandering of two congressional

districts. Harris v. McCrory, No. 1:13-cv-949, ECF No. 148 (M.D.N.C. Feb. 9, 2015) (Order

Denying Emergency Motion to Stay). The court in that case denied a stay and implemented an

immediate remedy, even though voting had already begun in the congressional primaries. That

court recognized that the balance of equities and public interest tipped heavily in favor putting a

remedial plan into place immediately. Id. at 4.

       Indeed, courts have consistently acted to ensure that voters already constitutionally

harmed by illegal redistricting plans do not further suffer irreparable harm. See, e.g., Vera v.

Bush, 933 F. Supp. 1341, 1352-53 (S.D. Tex. 1996) (ordering a remedial plan on August 6, 1996,

for November 1996 elections); Johnson v. Mortham, 926 F. Supp. 1540, 1542 (N.D. Fla. 1996)

(denying motion to stay a May 22, 1996, deadline for the legislature to enact a remedial plan for

the November 1996 congressional election); Busbee v. Smith, 549 F. Supp. 494, 518-19 (D.D.C.

1982) (ordering a court-drawn remedial plan on August 24, 1982, for two congressional




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districts), aff’d 459 U.S. 1166 (1983); Keller v. Gilliam, 454 F.2d 55, 57-58 (5th Cir. 1972)

(approving the shortening of terms of office as a remedy for a voting rights violation).

       Moreover, the fact that the primaries for the unconstitutional super-district seats on the

county commission have already been conducted is no barrier to providing Plaintiffs with a

remedy this year. It is clear that “a district court has power to void and order new elections for

violations of the Voting Rights Act of 1965, 42 U.S.C.S. § 1973, and the Constitution.” Arbor

Hill Concerned Citizens Neighborhood Ass’n v. County of Albany, 357 F.3d 260 (2d Cir. 2004);

see also, Hadnott v. Amos, 394 U.S. 358 (1969) (federal courts have the power to invalidate

elections held under constitutionally infirm conditions); Pope v. County of Albany, 687 F.3d 565,

569-70 (2d Cir. 2012) (citing Bell v. Southwell, 376 F.2d 659, 665 (5th Cir. 1967) (holding that

district court has power to void and order new elections for violations of Voting Rights Act and

Constitution)); Stewart v. Taylor, 104 F.3d 965, 970 (7th Cir. 1997) (stating that, despite holding

of challenged election, court could order new election if plaintiff's motion for preliminary

injunction has merit); Hamer v. Campbell, 358 F.2d 215, 222 (5th Cir. 1966) (“[H]aving

concluded that the … election should have been enjoined, we now must set it aside in order to

grant appellants full relief in the same manner as if the said election had been enjoined.” (internal

quotation marks omitted)).

       Reliance on Purcell v. Gonzalez, 549 U.S. 1 (2006), Upham v. Seamon, 456 U.S. 37

(1982), Ely v. Klahr, 403 U.S. 108, (1971), Reynolds v. Sims 377 U.S. 533 (1964), or S.W. Voter

Registration Educ. Project v. Shelley, 344 F.3d 914 (9th Cir. 2003) for the proposition that it is

acceptable for elections to proceed under an unconstitutional plan is misplaced. As an initial

matter, this case is different for two important reasons: First, as noted above, in this case there is

a clear and direct instruction from the Court of Appeals that this Court is bound to follow



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requiring immediate issuance of a permanent injunction. See, e.g., Doe v. Chao, 511 F.3d 461,

465 (4th Cir. 2007) (“The mandate rule likewise restricts the district court's authority on remand

from the court of appeals. First, ‘any issue conclusively decided by this court on the first appeal

is not remanded,’ and second, ‘any issue that could have been but was not raised on appeal is

waived and thus not remanded.’” (citations omitted)). Second, constitutionally-drawn districts

have been in place and used for both bodies since 2011. None of the cases listed above involved

a re-redistricting of a local governing body. The federal judiciary’s general preference for

legislatively-enacted plans over court-drawn plans operates here to eliminate the need for further

proceedings to implement a remedy and the prior districts can be used immediately.

       Moreover, Purcell, dealing with a voter identification requirement, id., 549 U.S. at 2, and

S.W. Voter, dealing with the use of punch card machines, id., 344 F.3d at 916, both involved

whether preliminary relief should be granted prior to any final judgment on the merits. Upham,

Ely and Reynolds all involved redistricting plans drawn before the widespread use of computer

technology and GIS-software, which have made redistricting a very different matter than it is

today. Indeed, the computer software that speeds the drawing of redistricting plans did not exist

in the 1960’s or 70’s. Today, by state law, the General Assembly is actually required to enact a

remedial statewide redistricting plan within two weeks. See N.C. Gen. Stat. § 120-2.4. Thus,

some of the equitable factors that may have weighed into the Supreme Court’s decision to delay

implementation of new legislative redistricting plans in 1970 are not at play here with regard to

districts for a local governing body.

       In more recent redistricting cases across the country, immediate implementation of

remedial redistricting plans has been ordered, despite the unavoidable burden that such

implementation would have on jurisdictions. See Vera v. Bush, 933 F. Supp. 1341, 1342, 1344



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(S.D. Tex. 1996) (Supreme Court invalided congressional redistricting plan on June 13, 1996,

three-judge panel in Texas drew a remedial plan on August 6, 1996, for use in November 1996);

Buskey v. Oliver, 574 F. Supp. 41, 41-42 (M.D. Ala. 1983) (June 10, 1983 order enjoining

elections scheduled for October 11, 1983).       This is because administrative burden on the

government, which is part and parcel of election administration of any sort, does not outweigh

irreparable harm to the fundamental right to vote of the citizens that elect that government.

       Also instructive are the court’s actions in Johnson v. Halifax County, 594 F. Supp. 161

(E.D.N.C. 1984), where the court entered a preliminary injunction in July 1984 in relation to

elections scheduled to be held in November 1984. Candidate filing for the primary elections had

already been held, see Johnson v. Halifax County, No. 83-48-civ-8, 1984 U.S. Dist. LEXIS

15267 (E.D.N.C. Jul. 3, 1984) (order declaring prior candidate filings void). Nevertheless, the

court held that “the black citizens of Halifax County will suffer irreparable harm in, once again,

they are unable to have an equal opportunity to elect county commissioners of their choice,”

Johnson, 594 F. Supp. at 171. The court further remarked that while a implementing a remedial

plan would “place administrative and financial burdens” on defendants, those burdens were

outweighed by the irreparable harm to plaintiffs. Id.

       Finally, the public interest lies with using fairly drawn, constitutional districts that give

equal weight to each voter’s vote. When, as here, the Constitution is violated, “the public as a

whole suffers irreparable injury.” Dillard v. Crenshaw County, 640 F. Supp. 1347, 1363 (M.D.

Ala. 1986). See also, Clark v. Roemer, 725 F. Supp. 285, 305-306 (M.D. La. 1988) (“The public

interest is clearly in favor of the discontinuing of an election system which the court has found

illegal and surely in a balance of equities, where the court has found encroachments on the

exercise of the civil liberties … the state can have no legitimate interest in continuing with a



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system that causes such encroachment.”)


                                    V.     CONCLUSION

       Plaintiffs request that upon issuance of the mandate of the Fourth Circuit Court of

Appeals in this matter, this Court immediately enjoin the use of the election methods set out in

the two unconstitutional statutes and direct the Defendants to implement the prior election

methods in the 2016 elections for the Wake County School Board and Board of County

Commissioners.

       Respectfully submitted this 18th day of July, 2016.

                                                   /s/ Anita S. Earls______________
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                                  CERTIFICATE OF SERVICE

       I hereby certify that I have this day electronically filed the foregoing PLAINTIFFS

SUBMISSION ON APPROPRIATE REMEDIES with the Clerk of Court using the CM/ECF

system which will send notification of such filing to all counsel and parties of record.

       Additionally, I have served an electronic copy by email to the following:

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                                                      This the 18th day of July, 2016.


                                                      /s/ Anita S. Earls________________
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